     Case 1:11-cr-00353-DAD-BAM Document 123 Filed 06/23/15 Page 1 of 3



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      ISRAEL MARTIN DEL CAMPO
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8
                                              UNITED STATES DISTRICT COURT
9
                                             EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           Case No. 1:11-cr-00353-AWI-BAM-5
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                                Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                        REDUCE SENTENCE PURSUANT TO 18
                v.                                        U.S.C. § 3582(c)(2)
14
      ISRAEL MARTIN DEL CAMPO,                            RETROACTIVE DRUGS-MINUS-TWO
15                                                        REDUCTION CASE
                                Defendant.
16                                                        Judge: Honorable ANTHONY W. ISHII

17
                Defendant, ISRAEL MARTIN DEL CAMPO, by and through his attorney, Assistant
18
      Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and
19
      through its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:
20
                1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
21
      imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
22
      based on a sentencing range that has subsequently been lowered by the Sentencing Commission
23
      pursuant to 28 U.S.C. § 994(o);
24
                2.         On October 28, 2013, this Court sentenced Mr. Del Campo to a term of 57 months
25
      imprisonment;
26
                3.         His total offense level was 25, his criminal history category was I, and the
27
      resulting guideline range for Count 1 was 57 to 71 months. By operation of USSG § 5G1.1(b),
28

      Stipulation and Order Re: Sentence Reduction           1
     Case 1:11-cr-00353-DAD-BAM Document 123 Filed 06/23/15 Page 2 of 3



1     the statutorily authorized minimum sentence of 120 months became the guideline range. He
2     received a reduction below that range on the government’s motion;
3               4.         The sentencing range applicable to Mr. Del Campo was subsequently lowered by
4     the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
5     2014, see 79 Fed. Reg. 44,973;
6               5.         Mr. Del Campo’s total offense level has been reduced from 25 to 23, and his
7     amended guideline range is 46 to 57 months. The parties agree to a reduction to 46 months;
8               6.         Accordingly, the parties request the Court enter the order lodged herewith
9     reducing Mr. Del Campo’s term of imprisonment to 46 months, effective November 15, 2015.
10
      Respectfully submitted,
11
      Dated: June 19, 2015                               Dated: June 19, 2015
12
      BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
13    United States Attorney                             Federal Defender
14
15    /s/_Kathleen A. Servatius __                       /s/ David M. Porter
      KATHLEEN A. SERVATIUS                              DAVID M. PORTER
16    Assistant U.S. Attorney                            Assistant Federal Defender

17    Attorney for Plaintiff                             Attorney for Defendant
      UNITED STATES OF AMERICA                           ISRAEL MARTIN DEL CAMPO
18
19                                                      ORDER
20              This matter came before the Court on the stipulated motion of the defendant for reduction
21    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
22              The parties agree, and the Court finds, that Mr. Del Campo is entitled to the benefit
23    Amendment 782, which reduces the total offense level from 25 to 23, resulting in an amended
24    guideline range of 46 to 57 months. His term of imprisonment shall be reduced to 46 months.
25              IT IS HEREBY ORDERED that the term of imprisonment imposed in October 2013 is
26    reduced to a term of 46 months, effective November 1, 2015. If this sentence is less than the
27    amount of time the defendant has already served as of November 1, 2015, the sentence is
28    reduced to a time served sentence. In no event is this Order to be understood as authorizing
      Stipulation and Order Re: Sentence Reduction          2
     Case 1:11-cr-00353-DAD-BAM Document 123 Filed 06/23/15 Page 3 of 3



1     release prior to November 1, 2015 or authorizing a term of imprisonment less than the term
2     actually served on November 1, 2015.
3               IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
4     remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
5     reduction in sentence, and shall serve certified copies of the amended judgment on the United
6     States Bureau of Prisons and the United States Probation Office.
7               Unless otherwise ordered, Mr. Del Campo shall report to the United States Probation
8     Office within seventy-two hours after his release.
9
      IT IS SO ORDERED.
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11    Dated:       June 23, 2015
                                                     SENIOR DISTRICT JUDGE
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      Stipulation and Order Re: Sentence Reduction      3
